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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 NATIONAL COALITION ON BLACK
 CIVIC PARTICIPATION, et al.,

                                Plaintiffs,                    Case No. 1:20-cv-8668-VM



                        v.

 JACOB WOHL, et al.

                                Defendants.


                   DECLARATION OF RACHELLE NAVARRO
        IN SUPPORT OF MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

       I, Rachelle Navarro, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, as

follows:

       1.      I am an associate at the law firm of Orrick, Herrington & Sutcliffe LLP

(“Orrick”). I submit this declaration in support of my motion to withdraw as counsel of record

for Plaintiffs National Coalition on Black Civic Participation, Mary Winter, Gene Steinberg,

Nancy Hart, Sarah Wolff, Kate Kennedy, Karen Slaven, Eda Daniel, and Andrea Sferes.

       2.      The reason for my withdrawal is that I am ending my employment with Orrick

which continues to represent Plaintiffs in this action. Plaintiffs will continue to be represented in

this action by Amy Walsh, Aaron Gold, Julie Gorchkova, Michael Maruca and Rene Kathawala

of Orrick, as well as David Brody of the Lawyers’ Committee for Civil Rights Under Law and

John Libby of Manatt, Phelps & Phillips.

       3.      I am not asserting a retaining or charging lien in connection with this action.
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       4.     Accordingly, my withdrawal will not cause or result in any delay or prejudice

given the ongoing representation of Plaintiffs by Amy Walsh, Aaron Gold, Julie Gorchkova,

Michael Maruca and Rene Kathawala of Orrick, David Brody of the Lawyers’ Committee for

Civil Rights Under Law, and John Libby of Manatt, Phelps & Phillips.

       I declare under penalty of perjury that the foregoing is true and correct.




Executed on: February 19, 2021
             New York, New York




                                                     By:     /s/ Rachelle Navarro
                                                                Rachelle Navarro
